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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

NICOLLET CATTLE COMPANY, INC.                        Civil No. 08-5899 (JRT/FLN)
d/b/a Horizon International,

                                  Plaintiff,    MEMORANDUM OPINION AND
                                               ORDER DENYING DEFENDANT’S
v.                                                    MOTION FOR
                                                  SUMMARY JUDGMENT
UNITED FOOD GROUP, LLC,

                                Defendant.


       Charles N. Nauen, David J. Zoll, and William A. Gengler, LOCKRIDGE
       GRINDAL NAUEN PLLP, 100 Washington Avenue South, Suite 2200,
       Minneapolis, MN 55401, for plaintiff.

       Annamarie A. Daley and Aaron A. Myers, BARNES & THORNBURG,
       LLP, 100 South Fifth Street, Suite 1100, Minneapolis, MN 55402, for
       defendant.


       Plaintiff Nicollet Cattle Company, which does business under the name Horizon

International (“Horizon”), sells beef, lamb, and mutton products originating from several

continents. Defendant United Food Group, LLC (“UFG”), has been one of Horizon’s

customers since 2005.     After UFG cancelled 148 sales contracts worth more than

$9 million in October 2008, Horizon filed this action against UFG alleging three contract

claims under the Uniform Commercial Code (“UCC”). UFG now asks the Court to

dismiss the case as a sanction for Horizon’s intentional destruction of evidence and

moves for summary judgment on the merits Horizon’s claims. For the reasons set forth

below, the Court denies UFG’s motion.



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                                     BACKGROUND

       Horizon is a Minnesota corporation that sells beef, lamb, and mutton products

from Australia, New Zealand, Uruguay, the United States, and Canada. (Goldberger

Decl. ¶ 2, Docket No. 141.)        Horizon sells these products to importers, traders,

distributors, and processors throughout the United States in “loads” containing

approximately 42,000 pounds of frozen meat. (Id. ¶¶ 3-4.)

       From 2005 through 2007, Horizon sold approximately 270 loads of meat worth

$14.4 million to UFG. (UFG’s Second Am. & Supplemental Answers to Certain of

Horizon’s First Set of Interrogs. at 3, Zoll Decl. Ex. 1, Docket No. 140.) In 2008,

Horizon became UFG’s largest supplier of meat products. (Confidential Zoll Decl. ¶ 7 &

Ex. 2, Docket No. 139.) From May through July 2008, UFG placed a number of orders

with Horizon, but repeatedly asked Horizon to delay delivery of some of those loads.

(See Confidential Zoll Decl. ¶¶ 9-10 & Exs. 7-8 (“(1) . . . [UFG] placed a total of 147

orders for delivery in May 2008 and . . . only 88 of these orders were actually delivered

in May; (2) . . . [UFG] placed a total of 148 orders for delivery in June 2008 and . . . only

80 of these orders were actually delivered in June; and (3) . . . [UFG] placed a total of 72

orders for delivery in July 2008 and . . . only 50 of these orders were delivered in July.”);

see also Daley Decl. Ex. C, Docket No. 133; UFG’s Second Am. & Supplemental

Answers to Certain of Horizon’s First Set of Interrogs. at 5-6, Zoll Decl. Ex. 1, Docket

No. 140.) The delayed deliveries during those months created a backlog of unfilled

purchase orders at the beginning of October 2008.



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       UFG asserts that at the beginning of October 2008 – and as purportedly confirmed

in an October 14, 2008, email between the parties – UFG and Horizon agreed that

Horizon would deliver to UFG fifteen loads per week throughout October and November

2008 until the outstanding purchase orders were filled. (Daley Decl. Exs. A, G, Docket

No. 133.) UFG claims, however, that Horizon failed to deliver the requisite loads to

UFG each week in October 2008. (Id. Ex. F.) On October 21, 2008, UFG made a written

request to Horizon asking for assurance of performance, which UFG contends Horizon

did not provide. (Id. Ex. D.) Horizon argues that there is a fact dispute about whether it

provided commercially adequate assurances of performance.

       On October 30, 2008, UFG cancelled approximately 148 outstanding purchase

orders, (UFG’s Second Am. & Supplemental Answers to Certain of Horizon’s First Set

of Interrogs. at 13-16, Zoll Decl. Ex. 1, Docket No. 140), claiming that Horizon failed to

timely deliver sixty loads of meat – or fifteen loads each week – prior to October 30. (Id.

at 13; Daley Decl. Ex. E, Docket No. 133.) UFG also contends that the delivered orders

had “paperwork problems,” i.e., the loads were not accompanied by paperwork certifying

that the meat was not contaminated with e. coli. (Goldberger Decl. ¶¶ 38-42, Docket

No. 16.)1


       1
          Horizon argues that UFG’s purported reasons for cancelling the outstanding purchase
orders were pretextual. Horizon states the UFG was actually motivated to cancel the purchase
orders because “the market price for imported beef products was falling and [UFG] stood to
realize substantial savings by cancelling the orders and replacing the beef at lower prices.”
(Mem. in Opp’n to Mot. for Summ. J. at 3, Docket No. 138.) Beginning in January 2008, prices
for imported beef products increased steadily before peaking in mid-July 2008. (Stewart Dep.
Tr. at 212:8 – 215:9, Zoll Decl. Ex. 2 & Ex.3, Docket No. 140.) After the mid-July peak,
                                                              (Footnote continued on next page.)


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       Horizon brought this action on November 3, 2008, alleging three contract claims

under the UCC (as adopted under Minnesota law).                Horizon contends that UFG

improperly repudiated the sales contracts and seeks damages for its losses. (Compl. ¶¶

19-26, Docket No. 1.) On May 3, 2010, UFG moved for dismissal as a sanction for

spoliation of evidence and for summary judgment.


                                       DISCUSSION

       UFG seeks dismissal of the case with prejudice as a sanction for Horizon’s

intentional destruction of documents relating to Horizon’s tracking of overseas orders of

meat and its long and short meat positions. UFG also contends that it is entitled to

summary judgment because there is no fact dispute that Horizon beached the October

2008 agreement to deliver to UFG fifteen loads of meat per week during October and

November 2008. The Court turns first to UFG’s spoliation argument and then addresses

UFG’s motion for summary judgment on the merits.




_________________________
(Footnote continued.)
imported beef prices began a precipitous decline that continued over the next four months,
dipping to the lowest levels of the year. (Id.) Horizon contends that the drop in market prices
for imported beef presented problems for UFG because “[i]t had entered into numerous sales
contracts while the market price was climbing and, once the bubble burst, [UFG] was required to
purchase the meat at prices substantially above the then-current market price.” (Mem. in Opp’n
to Mot. for Summ. J. at 3, Docket No. 138.) Horizon argues that by cancelling orders for
purchase of imported beef at high prices and replacing those with orders for beef at the lower
prices available in the latter months of 2008, UFG was able to realize substantial cost savings.



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I.     SPOLIATION

       A.      Background

               1.    Horizon’s Blue and Manila Folder Tracking System

       To organize documents pertaining to its purchases and sales of meat, Horizon

employed a system that uses blue- and manila-colored folders. (Goldberger Decl. ¶¶ 6-7,

Docket No. 141; Goldberger Dep. Tr. at 103:24-07:12, Zoll Decl. Ex. 15, Docket

No. 140.) Horizon employee Jay Goldberger kept documents related to Horizon’s orders

from its meat suppliers, including purchase orders, health certificates, and customs

information, in manila folders. (Goldberger Dep. Tr. at 104:17-22, Zoll Decl. Ex. 15,

Docket No. 140.) Goldberger kept information about Horizon’s outstanding sales to its

customers, including purchase orders, invoices, and health certificates, in blue folders.

(Goldberger Decl. ¶ 6, Docket No. 141.) Approximately once a week, Goldberger

“match[ed] outstanding purchases with outstanding sales and place[d] the manila folder

for the specific load of meat inside the blue folder for the specific sale to which it would

be applied.”    (Id.) Goldberger matched outstanding sales and purchases “based on

timing” of when outstanding sales were due and when outstanding purchases were

expected.   (Goldberger Dep. Tr. at 106:3-5, Zoll Decl. Ex. 15, Docket No. 140.)

Goldberger kept the combined folders in a separate drawer until the transactions were

completed and then archived the files. (Goldberger Decl. ¶ 6, Docket No. 141.)

       After UFG cancelled its orders with Horizon, Goldberger switched the manila

folders containing information about the meat orders that Horizon had applied to its sales

to UFG, with the blue folders containing information about UFG’s cancelled orders. (Id.


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¶ 7.) That is, Goldberger placed the blue folders inside the manila folders. Goldberger

did this “in order to maintain the connection between the cancelled orders and the

products which had been applied to the orders.” (Id.) When Horizon resold to other

customers the meat that Horizon had originally assigned to UFG, Goldberger placed the

combined folders into new blue folders corresponding to the other customers. (Id.)

According to Goldberger, this method allowed him to “track how each load of meat

which had been applied to an order cancelled by [UFG] had been resold.” (Id.) On

February 3, 2010, Horizon provided UFG with copies of the contents of the blue and

manila file folders for use in this litigation. (Zoll Decl. ¶ 17, Docket No. 140.)


              2.     Horizon’s Vessel Book

       Horizon maintains vessel books to track loads of meat ordered from overseas

suppliers. (Goldberger Dep. Tr. at 201:16-21, Zoll Decl. Ex. 15, Docket No. 140-2.) The

vessel books contain separate pages for each vessel that is carrying Horizon’s outstanding

orders to the United States. (Id. at 202:20-22.) When Goldberger received an arrival

notice indicating that an order had arrived, he would “check it off to make sure that

here’s the load, here’s the container and it’s definitely on that vessel.” (Id. at 202:10-19.)

       Goldberger testified that Horizon had created a partial vessel book for 2008, and

that in the ordinary course of business, Horizon “clean[ed] it up [i.e., discarded vessel

pages], as . . . the vessels [we]re finished.”         (Goldberger Dep. Tr. at 330:9-17,

Confidential Zoll Decl. Ex. 17, Docket No. 139.) Goldberger testified that after UFG

cancelled its orders, Horizon stopped updating the vessel book. (Goldberger Dep. Tr. at



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201:25-202:1, Zoll Decl. Ex. 15, Docket No. 140.) He explained: “there was just no time

to do [the vessel book] during [the] period . . . after UFG cancelled the orders . . .

[Horizon did] what needed to get done for the day just to keep things going.” (Id. at

202:4-9.)   The Court notes, however, that the record includes a vessel schedule

identifying 137 loads of meat that Horizon assigned to UFG. Horizon provided the

schedule to UFG on October 9, 2008. (Vessel Schedule, Confidential Zoll Decl. Ex. 16,

Docket No. 139.)


              3.     Horizon’s Long and Short Market Positions

       Regarding Horizon’s short and long market positions, Goldberger testified that

sometimes Horizon “went short,” meaning it would sometimes sell meat to its customers

that it had not yet ordered from its suppliers. (Goldberger Dep. Tr. at 110:8-12, Zoll

Decl. Ex. 15, Docket No. 140.) Whether Horizon would order meat “depend[ed] on

[Goldberger’s] feeling on the market.” (Id. at 109:5-19.) Goldberger testified that

Horizon sometimes filled UFG’s orders with meat Horizon had bought on the open

market, and at other times filled UFG’s orders with meat that Horizon originally intended

to fill another customer’s order. (Id. at 194:6-24.)


              4.     UFG’s Motion to Compel

       On December 22, 2009, UFG filed a motion to compel Horizon to produce various

documents that Horizon kept in the ordinary course of its business, including “vessel

sheets” from the vessel books, and documents relating to its long and short market

positions. (Mot. to Compel at 2, Docket No. 47.) On February 18, 2010, United States


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Magistrate Judge Franklin Noel ordered Horizon to produce the vessel sheets generated

between January 1, 2008, and December 31, 2008, and reports documenting Horizon’s

long and short meat positions. (Order, Docket No. 82.) Horizon has stated that it

discarded the vessel sheets in the ordinary course of business, (see Daly Decl. ¶ 10,

Docket No. 133), and that it did not formally track its long and short market positions,

(see Goldberger Dep. Tr. at 110:17-25, 145:10 – 146:5, Zoll Decl. Ex. 15, Docket

No. 140).


      B.     UFG Has Not Established Spoliation.

      “Spoliation is the destruction or significant alteration of evidence, or the failure to

preserve property for another’s use as evidence in pending or reasonably foreseeable

litigation.” Zubulake v. UBS Warburg LLC, 220 F.R.D. 212, 216 (S.D.N.Y. 2003)

(internal quotation marks omitted). To establish spoliation, the moving party must show

that the adverse party destroyed potential evidence, that the evidence was discoverable,

and that the loss of evidence prejudiced the moving party. Lexis-Nexis v. Beer, 41

F. Supp. 2d 950, 954 (D. Minn. 1999).

      “The obligation to preserve evidence begins when a party knows or should have

known that the evidence is relevant to future or current litigation.” E*Trade Secs. LLC v.

Deutsche Bank AG, 230 F.R.D. 582, 588 (D. Minn. 2005).               The Court must first

determine when the “defendant’s duty to preserve evidence was triggered.” Id. If

potential evidence is destroyed prior to the commencement of litigation pursuant to a

document retention policy, the moving party must also show that the destruction was



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intentional and in bad faith. Id. “If, however, the destruction of evidence occurs after

litigation is imminent or has begun, no bad faith need be shown by the moving party.”

Id. at 589.

       Upon a showing of spoliation, a court may impose appropriate sanctions.

Zubulake, 220 F.R.D. at 216 (“The determination of an appropriate sanction for

spoliation, if any, is confined to the sound discretion of the trial judge, and is assessed on

a case-by-case basis.” (alteration and internal quotation marks omitted)). A court may

only dismiss a case, however, if the movant establishes that there is a willful violation of

an order for discovery and that the movant was prejudiced. Keefer v. Provident Life &

Accident Ins. Co., 238 F.3d 937, 940 (8th Cir. 2000).


              1.     Long and Short Market Positions

       Horizon contends that it did not formally track its long or short positions and

therefore could not have destroyed documents reporting that information. UFG has not

adduced evidence that Horizon maintained discoverable documentation of its long and

short positions and, as a result, Horizon’s alleged destruction of those documents cannot

form the basis for UFG’s spoliation claims.


              2.     Vessel Books

       Horizon does not dispute that it destroyed the vessel books in the ordinary course

of its business or that the relevant vessel sheets would have been discoverable if Horizon

had not already destroyed them prior to the commencement of this litigation. UFG has

not submitted evidence, however, suggesting that Horizon destroyed the vessel books


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after UFG commenced this litigation or that Horizon destroyed the vessel books in willful

violation of the Magistrate Judge’s order compelling Horizon to produce the vessel

books. Dismissal of the case is therefore not appropriate. See Keefer, 238 F.3d at 940.

       UFG has also not adduced evidence that Horizon knew or should have known that

litigation was imminent and that Horizon therefore had a duty to preserve the vessel

books. Further, UFG has not demonstrated that Horizon destroyed the vessel books in

bad faith, or that the loss of the vessel books prejudices UFG.


                     a.      Bad Faith

       Because there is no evidence that Horizon destroyed the vessel books after the

litigation began or that Horizon should have been aware that this litigation was imminent,

UFG must demonstrate that Horizon destroyed the vessel books in bad faith.             See

E*Trade, 230 F.R.D. at 588. “Bad faith need not directly be shown but can be implied by

the party’s behavior.” Id. A party’s behavior may suggest bad faith where the party

“selectively preserve[d] some evidence while failing to retain other [evidence].” Id. To

determine whether sanctions are warranted where a party has destroyed documents prior

to litigation pursuant to a document retention policy, the Court considers “(1) whether the

retention policy is reasonable considering the facts and circumstances surrounding those

documents, (2) whether lawsuits or complaints have been filed frequently concerning the

type of records at issue, and (3) whether the document retention policy was instituted in

bad faith.” Id. at 588-89.




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         UFG argues that the fact that “Horizon chose to destroy [the vessel books] and not

the [blue and manila folders]” demonstrates that Horizon acted in bad faith. (Reply at 8-9,

Docket No. 143.) UFG cites Goldberger’s testimony that Horizon did not maintain the

vessel books after UFG cancelled its orders as evidence that “Horizon’s record-keeping

was done with specific awareness of issues with [UFG].” (Id. at 9 n.10.) But Horizon’s

failure to maintain vessel books after UFG’s cancellation of the purchase orders is not

relevant when considering whether Horizon intentionally destroyed vessel books. The

record indicates that Horizon failed to maintain its vessel book because Horizon was

distracted by its financial problems caused by the UFG’s cancellation, not because

Horizon wished to conceal evidence. UFG adduces no other evidence that Horizon’s

destruction of the vessel books was in bad faith.

         To the extent that Horizon has a “document retention policy” of discarding vessel

sheets after a shipment arrives in the United States, UFG has not produced evidence

indicating that such policy was unreasonable under the circumstances, that other lawsuits

have been filed concerning the vessel books, or that Horizon instituted that policy in bad

faith.


                      b.     Prejudice

         To the extent that the Court could conclude that Horizon destroyed the vessel

books in bad faith, UFG must also show that the loss of evidence prejudiced its case. See

Keefer, 238 F.3d at 940.       UFG argues that it needs the vessel books to challenge

Horizon’s assertion that Horizon had purchased meat to fill UFG’s orders. (Mem. of Law



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in Supp. of UFG’s Mot. for Summ. J. at 5, Docket No. 132.) UFG contends that there is

no evidence that Horizon actually purchased and allocated meat to fill UFG’s October

2008 or November 2008 orders. (Reply at 7, Docket No. 143.)

      The Court finds that UFG has not shown that the destruction of the vessel books is

prejudicial to its case or to its assessment of damages. Horizon adduced evidence that it

is customary for Horizon and others in the industry to assign incoming loads of meat to

one customer, and then to later reassign the same load of meat to a different customer

based on demand and other logistics. (See Isenmann Dep. Tr. at 79:19 – 80:9, 97:15 –

98:3, Zoll Decl. Ex. 6, Docket No. 140; Goldberger Dep. Tr. at 194:6 – 24, Zoll Decl.

Ex. 6, Docket No. 140.) Thus, it is uncertain whether the vessel books would have

indicated that Horizon did not initially assign or have enough loads of meat to fill UFG’s

orders. Regardless, such evidence would not necessarily lead to the conclusion that

Horizon was unable to meet UFG’s delivery requests.

      Moreover, there is no prejudice when the movant is able to obtain the information

in the destroyed evidence elsewhere. See Fakhro v. Mayo Clinic Rochester, No. 02-626,

2004 WL 909740, at *4 (D. Minn. Mar. 31, 2004). UFG argues that Horizon’s blue and

manila folders cannot provide the same information that was in the destroyed vessel

books because the folders were “subject to Horizon’s physical alterations.” (Reply at 7

n.7, Docket No. 143.) UFG speculates that the information in the folders is inaccurate

and that Horizon manipulated that information, but points to no evidence suggesting that

Horizon manipulated the contents of the folders it produced during discovery or that there




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is any difference between the information in the folders and the information that had been

in the vessel books.

        Because UFG has failed to show that Horizon’s destruction of the vessel books

was in bad faith or that the destruction prejudiced UFG, the Court denies UFG’s request

for sanctions.2


II.     SUMMARY JUDGMENT

        A.    Standard of Review

        Summary judgment is appropriate where there are no genuine issues of material

fact and the moving party can demonstrate that it is entitled to judgment as a matter of

law. Fed. R. Civ. P. 56(c). A fact is material if it might affect the outcome of the suit,

and a dispute is genuine if the evidence is such that it could lead a reasonable jury to

return a verdict for either party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247

(1986). A court considering a motion for summary judgment must view the facts in the

light most favorable to the non-moving party and give that party the benefit of all

reasonable inferences that can be drawn from those facts. Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, 587 (1986).




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        To the extent that UFG could demonstrate spoliation of the vessel books, the Court
would regardless deny UFG’s request for sanctions as untimely. The motion for sanctions is
non-dispositive, see Ngo v. Storlie, No. 03-3376, 2006 WL 1046933, at *1 n.1 (D. Minn. Apr.
19, 2006), and it is untimely under the Pretrial Schedule, which requires the parties to file all
non-dispositive motions by March 1, 2010. (See Order at 2, Docket No. 38.)



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       B.     The Purported October 2008 Agreement

       The issues before the Court on summary judgment are (1) whether Horizon and

UFG entered into an agreement at the beginning of October 2008 pursuant to which

Horizon would deliver to UFG fifteen loads of meat per week beginning the first week of

October 2008 and continuing through November 2008; and (2) whether Horizon

breached that agreement by failing to timely deliver fifteen loads of meat each week in

October. (Cf. Mem. in Supp. of Mot. for Summ. J. at 5, Docket No. 132 (“The sales at

issue in this matter all specified delivery dates and the parties had agreed that 15 loads of

meat were to be delivered weekly beginning the first week of October 2008. It is

undisputed that Horizon failed to make delivery by those dates.”).)


              1.     Substance of the October 2008 Agreement and Breach

       Asserting “uncontroverted facts,” UFG states that “On October 14, 2008, Horizon

confirmed that the parties had agreed, two weeks before, that it would deliver 15 loads

per week to [UFG]. . . . [and] Horizon did not deliver 15 loads to UFG during each week

in October.” (Mem. in Supp. of Mot. for Summ. J. at 1-2, Docket No. 132.) To establish

that Horizon breached an agreement to deliver fifteen loads per week beginning the first

week of October 2008, UFG must prove (1) the formation of the agreement;

(2) performance by UFG of any conditions precedent; and (3) breach of the agreement by

Horizon. See Commercial Assocs., Inc. v. Work Connection, Inc., 712 N.W.2d 772, 782

(Minn. Ct. App. 2006) (citing Indus. Rubber Applicators, Inc. v. Eaton Metal Prods. Co.,

171 N.W.2d 728, 731 (Minn. 1969)). Horizon contends that there are genuine issues of



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material fact regarding the formation of the October 2008 agreement and whether

Horizon breached that agreement. The Court agrees.

       First, there is a fact dispute regarding whether Horizon and UFG entered into an

agreement in October 2008. The portions of the record that UFG cites in support of the

argument that Horizon and UFG entered into an agreement in October do not specifically

mention an agreement between Horizon and UFG. The October 14, 2008, email from Jay

Goldberger at Horizon to David Karp at UFG stated, “I am attaching a list showing when

you received the loads I sent that would be ready the week of October 6th and the week of

October 13th. . . . 2 weeks ago when I asked Don [Stewart] . . . he said ‘David [Karp] says

he will need all orders filled spread through October/ fh [sic] November.” (Daley Decl.

Ex. G, Docket No. 133.) UFG focuses on the language that the orders were to be

“spread” through October and November of 2008, but the email does not necessarily

support the proposition that the orders were to be spread “evenly” throughout those two

months—equating to fifteen loads per week.

       UFG also cites the deposition of Jay Goldberger, Horizon’s Rule 30(b)(6)

designee, but Goldberger’s testimony does not conclusively demonstrate that the parties

formed a fifteen-load-per-week agreement beginning in the first week of October:

       Q.    Do you also recall seeing the e-mail exchange between you and
       Mr. Karp regarding 15 loads a week for October – with reference to
       October 2008?

       A.    Not specifically, but I could review it I’m sure. I think I know
       which e-mail, I just don’t remember the exact words.

       Q.    Well do you understand that Horizon had agreed to deliver 15 loads
       a week to United Food Group?


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      [objection]

      A.     In what timeframe?

      Q.     In October 2008.

      A.     Yes, and we were prepared to do so.

(Goldberger Dep. Tr. at 255:3-15, Daley Decl. Ex. A, Docket No. 133.) Later in his

deposition, however, Goldberger testified that “I don’t believe we were asked to deliver

15 loads in the first week of October. I believe it was the third and fourth [weeks].”

(Id. at 256:11-14 (emphasis added).) David Karp, a UFG employee, also noted that

“[t]here is no overarching contract that created or governed an ongoing business

relationship between UFG and Horizon. Each of UFG’s orders was a separate and

fungible transaction and Horizon’s obligation to UFG concluded upon the delivery of the

meat to UFG in California.” (Karp Decl. ¶ 7, Zoll Decl. Ex. 13, Docket No. 140.)

Giving Horizon, the non-movant, the benefit of all reasonable inferences, a reasonable

trier of fact could find that the parties did not form the purported October 2008

agreement.

      Second, there is a fact dispute regarding whether Horizon breached any such

agreement. Horizon concedes that it did not deliver to UFG fifteen loads during the week

of October 20, 2008, but Horizon asserts that UFG “consented to the delivery of fewer

than 15 loads of meat during” that week. (Req. for Admis. at 2, Daley Decl. Ex. F,

Docket No. 133.) Further, Horizon asserts that when Horizon attempted to deliver loads

to UFG during the week of October 27, 2008, UFG rejected the loads due to paperwork



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problems without giving Horizon the opportunity to cure the problems, or rejected the

loads in circumstances where UFG was responsible for the errors (e.g., problems with

bills of lading). (Steward Dep. Tr. at 208:10 – 210:2, Zoll Decl. Ex. 2, Docket No. 140.)

“Generally, contract performance is excused when it is hindered or rendered impossible

by the other party.” Zobel & Dahl Constr. v. Crotty, 356 N.W.2d 42, 45 (Minn. 1984).

Horizon argues that UFG hindered Horizon’s performance by rejecting the shipments and

denying Horizon the opportunity to correct the alleged paperwork problems, and by

rejecting loads when UFG caused the paperwork problems. In these circumstances,

breach is a question of fact for the jury.        See LaSociete Generale Immobiliere v.

Minneapolis Cmty. Dev. Agency, 44 F.3d 629, 638 (8th Cir. 1994) (“Minnesota law . . .

provides that there must be a causal link between the alleged breach and the party’s

claimed damages. Causation is a question of fact[.]” (citation omitted)).

      In sum, a reasonable trier of fact could find that Horizon and UFG did not enter

into the purported October 2008 agreement and, in the alternative, that Horizon did not

breach that agreement because UFG hindered Horizon’s ability to perform under the

terms of the agreement, thereby excusing Horizon’s non-performance. Accordingly, the

Court denies UFG’s motion to the extent that it addresses formation and breach.


             2.     UFG’s Request for Reasonable Assurances

      The Court also denies UFG’s motion for summary judgment as it relates to UFG’s

request for reasonable assurances from Horizon. On October 21, 2008, Karp sent an

email to Goldberger at Horizon stating, “I need to know, with confidence, how many of



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our outstanding loads will be available for us to get throughout next week. I need to

know today.” (Daley Decl. Ex. D, Docket No. 133.) Goldberger replied, “[W]e are also

working on number of loads in [O]akland but do not want to commit until. The customer

let’s me have it we will advise on those first thing.” (Id.) UFG argues that this email

exchange demonstrates that UFG requested in writing that Horizon give assurances of

performance, and that Horizon failed to provide those assurances. (Mem. in Supp. of

Mot. for Summ. J. at 2, Docket No. 132.)

      UCC Section 2-609, as adopted in Minnesota, governs UFG’s claim regarding

adequate assurances.    Minnesota Statute §336.2-609 provides that if a party has

“reasonable grounds for insecurity . . . with respect to the performance” of the other

party, it “may in writing demand adequate assurance of due performance.” Minn. Stat.

§ 336.2-609(1). If, as here, the contract is between merchants, “the reasonableness of

grounds for insecurity and the adequacy of any assurance offered shall be determined

according to commercial standards.” Id. § 336.2-609(2). If a party fails to provide

adequate assurances “within a reasonable time not exceeding 30 days” after receiving a

justified demand, the party is considered to have repudiated the contract. Id. § 336.2-

609(4).   Horizon argues that UFG has not demonstrated that it had commercially

reasonable doubts regarding Horizon’s performance and ignores the fact that Horizon

responded to UFG’s request for assurances. The Court agrees.

      First, the Court considers whether UFG had commercially reasonable doubts about

Horizon’s ability to deliver meat. UFG concludes without citation to the record that it

“reasonably believed that Horizon could not deliver meat in a timely manner.” (Mem. in


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Supp. of Mot. for Summ. J. at 9, Docket No. 132.) In response to UFG’s motion,

Horizon adduced evidence showing that it repeatedly asked UFG if it was receiving

adequate quantities of meat and asked UFG when it wanted Horizon to deliver delayed

orders. (See, e.g., Stewart Dep. Tr. at 143:19 – 144:12, 164:6-23; Zoll Decl. Ex. 2,

Docket No. 140; Daley Decl. Ex. G, Docket No. 133.) On October 14, 2008, Horizon

confirmed that UFG had requested that the outstanding orders be filled by the first half of

November, but explained to UFG that some orders would not be delivered until

November and December. (Daley Decl. Ex. G, Docket No. 133.) At that time, Horizon

had already sent to UFG a “Vessel Schedule” listing the 137 loads of meat that had been

assigned to the outstanding Horizon-UFG contracts and including the estimated arrival

dates for those loads. (Confidential Zoll Decl. Ex. 16, Docket No. 139.)

      Horizon has adduced sufficient evidence such that a reasonable trier of fact could

conclude that UFG did not have commercially reasonable doubts regarding Horizon’s

performance under the purchase orders. Cf. US Salt, Inc. v. Broken Arrow, Inc., Civ.

No. 07-1988, 2008 WL 398818, at *4 (D. Minn. Feb. 11, 2008) (holding that by not

providing any assurances in response to justified demand and by not taking any actions to

perform under the contract, the defendant had breached the contract).           Therefore,

summary judgment is not appropriate.

      Second, there is a fact dispute about whether Horizon’s assurances were adequate.

As noted above, UFG states that the “uncontroverted facts” show that Horizon did not

respond or provide adequate assurances to UFG.         UFG’s description of the record,

however, is incomplete. After Goldberger responded to Karp’s e-mail and stated, “[W]e


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are also working on number of loads in [O]akland but do not want to commit until,” Karp

acknowledged Goldberger’s response with a terse, “Got email.” (Daley Decl. Ex. D,

Docket No. 133.) On October 22, 2008, the day after the initial email exchange, Horizon

informed UFG that for the week of October 27, Horizon would have ten loads of 95%

lean bull, two loads of 90% lean shank, two loads of 90% lean cow, and six loads of

SIBS for a total of twenty loads of meat. (Zoll. Decl. Ex. 16, Docket No. 140.) On

October 23, 2008, Horizon advised UFG of the loads to be delivered and informed UFG

that as “for the other 10 loads [it was] double and triple check[ing] with the freezers that

they will guarantee the meat ready” for delivery. (Id. Ex. 17.)

       Viewing the facts in a light most favorable to Horizon, a reasonable trier of fact

could find that Horizon’s assurances were commercially adequate. Accordingly, the

Court denies UFG’s motion for summary judgment as it relates to reasonable assurances.


                                         ORDER

       Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that United Food Group, LLC’s Motion for Summary Judgment

[Docket No. 130] is DENIED.



DATED: September 7, 2010                           ____s/                     ____
at Minneapolis, Minnesota.                              JOHN R. TUNHEIM
                                                     United States District Judge




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